                    2:21-cr-20054-CSB-EIL # 6   Page 1 of 5
                                                                                      E-FILED
                                                   Thursday, 23 September,
                                                                         V 4.02021
                                                                               8/4/2003:13:23 PM
                                                                 Clerk, U.S. District Court, ILCD

   Instructions for Connection to Cisco Meeting
                        Video Conference
                         Hon. Judge Bruce
                 AUDIO ONLY: 571-353-2300
                        Code: 827466136#


Step 1. Open Google Chrome and copy/paste the link the following link into the
address bar:

https://join.uc.uscourts.gov/invited.sf?secret=oyl7THQ5Wa00IXA_PeDDPg&id=82
                                      7466136

Step 2. Once the webpage loads, type your first and last name into the Your
Name field and select the Join Meeting button.
                     2:21-cr-20054-CSB-EIL # 6    Page 2 of 5

                                                                         V 4.0 8/4/20




Step 3: On the next screen, select the little lock icon on the top near the address
bar and make sure that both the Camera and Microphone settings are set to
allow. There is a webcam preview available on this screen so make sure that the
defendant and whoever else needs to be in the room with him or her are both
visible. There is also a bar that shows the microphone level. Please make sure
your microphone is in working order and that you can be heard on the video
call.
                   2:21-cr-20054-CSB-EIL # 6   Page 3 of 5

                                                                   V 4.0 8/4/20




Step 4: Once you reach this screen, you have now entered the meeting. Please
wait for the courtroom to connect their side, if they have not already.
                     2:21-cr-20054-CSB-EIL # 6    Page 4 of 5

                                                                         V 4.0 8/4/20




NOTE: If you happen to disconnect from the hearing before it is finished, you will
come across a screen like this:




To get back into the meeting, select the Join Meeting option. At the following
screen below, in the Meeting ID field, type in the following ID:
                                    827466136
                     2:21-cr-20054-CSB-EIL # 6    Page 5 of 5

                                                                        V 4.0 8/4/20




Once the ID is entered, select Join Meeting and you will be prompted to enter
your name again.

If you have ANY issues connecting or are having difficulties hearing / seeing the
judge or anything on the federal courtroom side, please contact:

 Aaron Wilder                             Dustin Henry
 Information Services Specialist (Peoria) Information Technology Administrator
 (309) 201-2127 CELL                      (217) 492-4005
 OR
 (309) 671-7180 DESK

 Rhonda Fleming
 Information Services Specialist
 (217) 398-5247
